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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

Aaron M. Jones,                               )
                                              )
                       Plaintiff,             )               Civil Action No. 4:22-cv-232
                                              )
Union Pacific Railroad Company,               )
a Delaware corporation,                       )
                                              )
                       Defendant.             )

                      COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW the Plaintiff, Aaron M. Jones, and for his claims and causes of action

against the Defendant, Union Pacific Railroad Company, a Delaware corporation, states and

alleges as follows:

                                    PRELIMINARY STATEMENT

       1.      This is an action brought by Plaintiff Aaron M. Jones (“Plaintiff”) against

Defendant Union Pacific Railroad Company (“Defendant”) for personal injuries suffered on May

23, 2021 while in the scope and course of his employment as a conductor, and the lawsuit is

brought pursuant to the Federal Employers’ Liability Act (FELA), 45 U.S.C. §§51-60.

                                             PARTIES

       2.     That at all times relevant herein, Plaintiff was a resident and citizen of Marshalltown,

Iowa, and was employed by Defendant as a conductor.

       3.      That at all times relevant herein, Defendant was a corporation duly organized and

existing under the laws of the State of Delaware and was duly licensed to operate a system of

railroads as a common carrier of freight for hire in and through the State of Iowa and is engaged

as a common carrier in interstate commerce.

                                    JURISDICTION AND VENUE

       4.      This Court has subject-matter jurisdiction over Plaintiff’s claim against Defendant,
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pursuant to 45 U.S.C. §§ 51-60. Accordingly, subject matter jurisdiction is established under 28

U.S.C. § 1331 (federal question).

        5.      This Court has general personal jurisdiction over Defendant because the incident

causing injuries in this matter occurred at or near Defendant’s railroad yard in Marshalltown, Iowa.

        6.      This Court has personal jurisdiction over Defendant because it purposefully availed

itself of the privilege of conducting business activities in the State of Iowa, and the incident that is

the subject of this lawsuit occurred in the State of Iowa, creating sufficient contacts to permit this

Court to exercise jurisdiction.

        7.      That at all times material herein, Plaintiff was in the employ of Defendant working

as a conductor, and that at the time of the occurrence of the incident described herein, all or part

of Plaintiff’s duties were in furtherance of Defendant’s business of interstate commerce.

        8.      Venue of this lawsuit in this Court is proper pursuant to 45 U.S.C. § 56, which

allows bringing a lawsuit in a court where the cause of action arose or where the defendant is doing

business.

        9.      The action against Defendant is timely commenced under the FELA pursuant to 45

U.S.C. § 56.

                                               FACTS

        10.     That on or about May 23, 2021, at approximately 7:00 p.m., Plaintiff was in the

course and scope of his employment working as a conductor in Defendant’s railyard in

Marshalltown, Iowa. Plaintiff and his engineer were instructed to pull a cut of railcars to assemble

a train. Part of Plaintiff’s job duties required that he ride the last railcar of the cut. As he began

to mount the A end of railcar NS 165013, he grabbed the vertical bar, placed his left foot on the

bottom rung, or stirrup step, and began to place his right foot on the rung/stirrup step just above



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the bottom stirrup step when suddenly and without warning, the stirrup unexpectedly broke and

gave way causing Plaintiff to lose his balance and strike the ground.

          11.    As a direct result, Plaintiff suffered and will continue to suffer serious and

permanent injuries including but not limited to injuries to his spine, neck, upper extremities

including shoulders, arms and hands, lower extremities including knees and ankles, medical

expenses, loss of earnings and loss of future earning capacity, pain and suffering, loss of enjoyment

of life, and other damages.

                                     BASES FOR RECOVERY

                                    COUNT I – NEGLIGENCE

          Plaintiff re-alleges the above (paragraphs 1-11) as though set forth at length and in detail

herein.

          12.    Negligence Pursuant to the Federal Employers’ Liability Act and Other Federal

and State Laws Enacted for Employee Safety. The injuries and damages sustained by Plaintiff

were caused by the negligence of Defendant in violation and breach of the Federal Employers’

Liability Act (FELA), 45 U.S.C. §51, et seq., in its:

          A.     Failing and neglecting to provide Plaintiff to provide Plaintiff with a reasonably
                 safe place to work, including but not limited to safe railcars, ladders and hand holds
                 on which to perform the work.

          B.     Failing and neglecting to failed to provide Plaintiff with safe and proper tools and
                 equipment for the work assigned.

          C.     Failing and neglecting to properly supervise the work assigned to Plaintiff.

          D.     Negligently required Plaintiff to work on a railcar with a defective and unsafe
                 ladder and rungs, stirrup steps and/or hand holds which were not properly secured
                 or fastened.

          C.     Failing and neglecting to adhere to specifications mandated by state and federal
                 laws and regulations, industry customs and standards, as well as Defendant’s own
                 rules, codes, and guidelines governing inspection, maintenance and use of railcars.

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          D.     Failing and neglecting to warn Plaintiff of defective and unsafe equipment.

          E.     Other acts of negligence causing injury.

          13.    As a consequence of the above-described negligence, Plaintiff was caused, in whole

or in part, to be injured as herein set forth.

          14.    As a consequence of the above-described negligence, Plaintiff suffered and will

continue to suffer serious and permanent injuries including but not limited to injuries to his spine,

neck, upper extremities including shoulders, arms and hands, lower extremities including knees

and ankles, medical expenses, loss of earnings and loss of future earning capacity, pain and

suffering, loss of enjoyment of life, and other damages as provided by all applicable laws.

          COUNT II – VIOLATION OF THE FEDERAL SAFETY APPLIANCE ACT

          Plaintiff re-alleges the above (paragraphs 1-14) as though set forth at length and in detail

herein.

          15.    Plaintiff further alleges that he was injured by reason of Defendant’s violation of

the Federal Safety Appliance Act, 49 U.S.C. §§ 20301-20306 and applicable Code of Federal

Regulations, in that it hauled or permitted to be hauled or used on its line of railway, a railcar

equipped with an unsafe, loose, broken and otherwise defective ladder, rungs, stirrup steps and/or

handholds, and as a result, Plaintiff was caused to be injured and damaged as hereinafter set forth.

          16.    As a consequence of the above-described acts and omissions, Plaintiff was caused,

in whole or in part, to be injured as herein set forth.

          17.    As a consequence of the above-described negligence, Plaintiff suffered and will

continue to suffer serious and permanent injuries including but not limited to injuries to his spine,

neck, upper extremities including shoulders, arms and hands, brachial plexopathy and

hemidiaphragm paresis with loss of vital capacity, lower extremities including knees and ankles,



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medical expenses, loss of earnings and loss of future earning capacity, pain and suffering, loss of

enjoyment of life, and other damages as provided by all applicable laws.

                                              DAMAGES

          Plaintiff re-alleges the above (paragraphs 1-17) as though set forth at length and in detail
herein.

          18.    As a result of the workplace incident and Defendant’s negligence described above,

Plaintiff suffered serious and permanent injuries and impairment to his spine, neck, upper

extremities including shoulders, arms and hands, brachial plexopathy and hemidiaphragm paresis

with loss of vital capacity, lower extremities including knees and ankles, which have required and

will require extensive medical care, including surgical intervention. As a further result of the

workplace incident and Defendant’s negligence described above, Plaintiff suffered past and future

physical and mental pain and anguish, disability, and loss of his enjoyment of life.

          19.    As a result of the workplace incident and Defendant’s negligence described above,

Plaintiff has incurred past expenses for medical attention and hospitalization and will incur further

like expenses in the future, and Plaintiff has incurred past loss of earnings and loss of future earning

capacity and will incur further like losses in the future.

                                             Jury Demand

          Plaintiff demands a trial by jury pursuant to Rule 38 of the Federal Rules of Civil

Procedure.

                                           Prayer for Relief

          Plaintiff, Aaron M. Jones, prays for judgment against the Defendant Union Pacific Railroad

Company, a Delaware corporation, for his damages together with costs and disbursements, and

such further relief as the Court deems appropriate and just.




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